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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA

                                )
ANDREW J. BRIGIDA; MATTHEW L. )
DOUGLAS-COOK                    )
                                )
            Plaintiffs,         )
                                )
      vs.                       )     Case No. 16-cv-2227 (DLF)
                                )
PETE BUTTIGIEG, Secretary, U.S. )
Department of Transportation,   )
                                )
            Defendant.          )
                                )

         REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’
               MOTION FOR CLASS CERTIFICATION
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                                        INTRODUCTION

       Every member of the Class had their pre-employment test results struck and was eliminated

from hiring consideration at the same time, in the same way, for the same race-based reason. Every

member of the Class asserts the same Title VII claims and will rely upon the same evidence to

establish their claims. Nevertheless, the FAA asserts that the Class cannot go forward unless the

Plaintiffs also make race-based and other distinctions among the Class members. Neither the facts

of this case, nor the plain terms of Rule 23, require such divisions.

       Further, the FAA’s argument that Plaintiffs cannot satisfy the predominance requirement

of Rule 23(b)(3) without a uniform damages formula runs contrary to established case law. For

more than forty years, courts have recognized that class actions determining liability for Title VII

violations can, and should, be followed by individualized relief considerations. The resort to

individual relief procedures does not, and could not, preclude Title VII class actions. Moreover,

the FAA’s inapposite arguments to the contrary are largely derived from antitrust and other

economic harm cases outside of the context of civil rights lawsuits.

       Put simply, Plaintiffs satisfy Rule 23 for the same reasons that numerous other Title VII

cases satisfy Rule 23. The Class claims are common, the proposed Class representatives’ claims

are typical of the Class, the representatives will adequately represent the Class, and injunctive

relief is appropriate to address the FAA’s illegal conduct and will benefit the entire Class. The

common issues of liability and relief far outweigh any individual issues that may later arise in the

case. All of this makes a class action here superior to hundreds of individual actions. Class

certification is therefore warranted.




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                                          ARGUMENT 1

I.     The Proposed Class of CTI Graduates Satisfies Rule 23(a).

       Plaintiffs have identified multiple common questions central to Class members’ claims,

demonstrated how their claims are typical of the Class, and shown that they will adequately

represent the Class in pursuing those claims. The FAA’s arguments that Plaintiffs cannot satisfy

Rule 23(a) rely upon inapplicable legal standards, and on faulty efforts to establish factual

distinctions within the Class. But Plaintiffs’ allegations, when viewed in light of relevant legal

authorities, firmly establish commonality, typicality, and adequacy of representation.

       A.      Even a Single Common Claim Adequately Establishes Commonality; The
               Class has Many.

               1.      The FAA’s Proposed Commonality Standard Is Wrong.

       A class “need only show one common issue to satisfy Rule 23(a)(2).” Mem’n in Supp. of

Pls.’ Mot. for Class Cert. (“Mot.”), ECF No. 139 at 27. See Wal-Mart Stores, Inc. v. Dukes, 564

U.S. 338, 359 (2011) (“We quite agree that for purposes of Rule 23(a)(2) [e]ven a single [common]

question will do.”) (internal quotation omitted); J.D. v. Azar, 925 F.3d 1291, 1321 (D.C. Cir. 2019)

(noting sufficiency of single common question); Bynum v. District of Columbia, 214 F.R.D. 27,

33 (D.D.C. 2003) (“Indeed, factual variations among the class members will not defeat the

commonality requirement, so long as a single aspect or feature of the claim is common to all

proposed class members.”) (citations omitted).

       Hence, the FAA’s proffered standard for evaluating commonality is simply wrong.



1
  In evaluating class certification, courts presume the allegations of the complaint to be true, and
do not evaluate the merits of plaintiffs’ claims, except to the extent required to determine that Rule
23 is satisfied. See Moore v. Napolitano, 926 F. Supp. 2d 8, 27 (D.D.C. 2013); Amgen Inc. v. Conn.
Ret. Plans and Trust Funds, 568 U.S. 455, 466 (2013). As a result, Plaintiffs will not address here
the FAA’s “background narrative” facts that do not impact class considerations. Opp., ECF No.
141 at 4–14, 37. Suffice it to say, Plaintiffs reject the FAA’s factual assertions.
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According to the FAA, “A plaintiff seeking class certification . . . must show that the elements of

[the] claim are susceptible to classwide proof.” Def.’s Opp. to Pls.’ Mot. for Class Cert. (“Opp.”),

ECF No. 141 at 21–22. The FAA indicates this standard is a direct quote from Amgen. There are

two problems with this citation. First, the Amgen Court noted that the only issue on appeal was

predominance under Rule 23(b)(3); not commonality under Rule 23(a)(2). See Amgen, 568 U.S.

at 465 (“The only issue before us in this case is whether [plaintiff] has satisfied Rule 23(b)(3)’s

requirement that ‘questions of law or fact common to class members predominate….’”).

       Second, even as to predominance, the FAA cites Amgen carelessly. Amgen actually reads:

“Justice THOMAS urges that a plaintiff seeking class certification ‘must show that the elements

of [her] claim are susceptible to classwide proof.’” Id. at 468. The majority, however, quoted

Justice Thomas to reject, rather than adopt, this statement. In the paragraph after the FAA’s

misquote, the Amgen majority in fact held the exact opposite: “Rule 23(b)(3), however, does not

require a plaintiff seeking class certification to prove that each ‘elemen[t] of [her] claim [is]

susceptible to classwide proof.’ What the rule does require is that common questions ‘predominate

over any questions affecting only individual [class] members.’” Id. at 469 (emphasis in Amgen).

Other courts in this District have recognized the proper place and form of the Amgen predominance

analysis. See Howard v. Liquidity Servs. Inc., 322 F.R.D. 103, 136 (D.D.C. 2017) (certifying

securities class action and stating, “[T]o demonstrate that common issues predominate over

individualized issues, a plaintiff need not ‘prove that each “element of his claim is susceptible to

classwide proof.”’”) (quoting Amgen, 568 U.S. at 469).

       Applying the correct legal standard, this case presents multiple common issues central to

liability, as well as common questions regarding relief, and more than satisfies Rule 23(a)(2).




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                2.      Common Questions Surround the Biographical Questionnaire.

        The FAA argues that the issues surrounding the Biographical Questionnaire (“BQ”) do not

satisfy commonality. Besides stemming from the wrong standard for commonality, its contentions

fail for at least three other reasons.

        First, the FAA’s argument that Plaintiffs must show that a question in the BQ had a uniform

impact on the Class relies upon disparate impact requirements, but this is a disparate treatment

case. This case is about the FAA’s intent to engage in race discrimination, and its decision to use

the BQ, among other things, to accomplish that objective. The FAA’s attempt to ignore common

questions about the motivations of its key officials and focus only on the mechanical operation, or

the disparate impact, of the BQ misses the point. The FAA challenges commonality by stating,

“Plaintiffs fail to provide anything more than conclusory allegations that the [BQ] was biased in

favor of African Americans.” Opp., ECF No. 141 at 22. Perhaps if the Plaintiffs’ claim was simply

that the BQ had a disparate impact, this criticism would be relevant. But it is not.

        Second, even if a disparate impact analysis applies in this disparate treatment case, the

FAA’s approach proves too much. The FAA suggests that unless Plaintiffs identify specific

questions on the BQ that every Class member answered the same way and that caused them to fail,

then Plaintiffs cannot establish commonality. See Opp., ECF No. 141 at 23–24 (asserting

“Question 15 cuts against commonality” in part because not all the Class answered it the same

way). But the FAA fails to point to a single court that has held that such granular question-by-

question analysis is needed. Indeed, the FAA’s argument would essentially preclude every case

involving a defective employee selection test from being pursued as a class, regardless of how

overt an employer’s race discrimination was, or would require a separate subclass for every faulty

question. Fortunately, this is not the law. See Gen. Tele. of Sw. v. Falcon, 457 U.S. 147, 159 n.15


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(1982) (“If petitioner used a biased testing procedure…, a class action on behalf of every applicant

or employee who might have been prejudiced by the test clearly would satisfy the commonality

and typicality requirements of Rule 23(a).”).

       As explained in Wal-Mart, a common faulty testing procedure establishes commonality

because it bridges the conceptual gap between an individual’s claim and the existence of a class

who suffered the same injury. Wal-Mart Stores, 564 U.S. at 352–53. Here Plaintiffs have alleged

that the BQ was rushed into place to serve a discriminatory purpose and to seize a unique

opportunity (a) when the National Black Coalition of Federal Aviation Employees (“NBCFAE”)

asserted influence within the FAA and its Office of Civil Rights (“FAA OCR”), (b) when there

was pent up demand for ATCSs, and (c) when the FAA could purport to justify its actions with

the Barrier Analysis. The viability of this contention does not depend upon whether each Class

member identically answered specific test questions.

       Third, the FAA’s citations do not support its arguments. The FAA claims that in Burton v.

District of Columbia, 277 F.R.D. 224, 229 (D.D.C. 2011), class certification was denied “for

failure to establish commonality where plaintiffs failed to explain how the examination was

biased.” (emphasis added). But Burton is inapposite because it did not involve a single test given

for a single vacancy announcement. Rather, the Burton plaintiffs challenged four years of

disciplinary decisions, asserted a hostile work environment, and challenged three different

administrations of promotional tests over three different years, asserting a different problem with

each test. Id. at 226–27. The court rejected the Burton plaintiffs’ efforts to establish commonality,




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noting that the complaint lacked any detail about how the examinations were biased, and that it

was apparent that not all proposed class members took the tests. Id. at 229. 2

       Neither of those deficiencies exists here. This case is limited to persons who took and failed

the 2014 BQ. And while identification of all the BQ’s faults awaits merits discovery, Plaintiffs

have explained how the BQ was likely an instrument of the FAA’s discriminatory intent. See 4th

Am. Compl., ECF No. 114, ¶¶ 12, 117 (BQ was unvalidated); ¶ 97 (BQ did not measure

qualifications but was designed to screen out 70% of applicants); ¶¶ 108, 123–24 (FAA

representations about the BQ were false); ¶¶ 104, 113–14 (change to hiring procedure was made

to change racial balance); ¶ 115 (failure rate far exceeded expected 70%); ¶¶ 119–20 (weighting

of the questions on the BQ is suspect, and may have favored African Americans); ¶ 121

(distribution of weights to answers potentially problematic); ¶¶ 122–24 (an entity within the FAA

concludes biodata should not be used for ATCS hiring without further validation); ¶ 127 (BQ not

job-related or justified by business necessity). These allegations are not “conclusory,” as the FAA

seems to contend.

       Finally, the FAA’s argument that commonality is lacking merely because the Class

includes women and other non-Caucasian racial groups fails. A similar argument was cogently

rejected by another federal district court:

       Defendants’ argument that the potential class members would consist of African-
       Americans, Hispanics, temporary employees, permanent employees, supervisory

2
  The FAA’s reliance on Ross and Easterling is similarly misplaced. Opp., ECF No. 141 at 17–18.
In Ross v. Lockheed Martin Corp., 267 F. Supp. 3d 174 (D.D.C. 2017), the suit encompassed three
years of performance reviews involving two rounds of at least partially subjective scoring, not an
employee screening examination. Ross, 267 F. Supp. 3d at 178, 183. And in Easterling—a
disparate impact case—the plaintiffs did not provide “statistical analysis of comparative test
passage rate to demonstrate commonality,” as the FAA claims. Opp., ECF No. 141 at 18. The FAA
cites the case background, but the commonality portion of the opinion concludes that persons
taking the 2006 and the 2008 tests in fact did have claims in common, and does not address
statistics. See Easterling v. Conn. Dept. of Correction, 265 F.R.D. 45 51–52 (D. Conn. 2010).
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       employees, and non-supervisory employees is of no avail. Defendants cite no case
       law to support the proposition that these different individuals cannot together set
       forth a series of legal issues that meet the commonality requirement. The Court
       finds that it is appropriate to include Blacks and Hispanics in the same class where
       the discrimination alleged is based on race and national origin. Where the policy
       appears to be “Whites only,” then the discriminatory employment practices based
       on race and national origin take the same form, and the injury and remedy would
       be the same….For purposes of commonality, the Court does not find any
       significance in the fact class members may be of a different status so long as there
       are questions of fact and law in common as there are here.

Leonard v. Southtec, LLC, No. 3:04-0072, 2005 WL 2177013, *8 (M.D. Tenn., Sept. 8, 2005). The

issue of commonality merely asks whether the class has claims in common, not whether each class

member has exact facts in common. Plaintiffs’ claims here are based on the assertion that the FAA

acted to benefit African Americans to the detriment of all others. See 4th Am. Compl., ECF No.

114, ¶¶ 11–12, 38, 56, 61, 64, 68–70, 79–80, 84, 92, 117, 119–20, 131, 136, 198; A. Brigida EEO

Compl., Ex. 30 to Mot., ECF No. 139-30 at 11 ¶ 49.

       Further, the Supreme Court has rejected the FAA’s “bottom line” argument that if there is

not a disparate impact at the end of an employment process, then a plaintiff cannot assert

discrimination as to part of the process. See Furnco Const. Corp. v. Waters, 438 U.S. 567, 579

(1978) (“A racially balanced work force cannot immunize an employer from liability for specific

acts of discrimination.”); Connecticut v. Teal, 457 U.S. 440, 455 (1982) (“It is clear that Congress

never intended to give an employer license to discriminate against some employees on the basis

of race or sex merely because he favorably treats other members of the employees’ group.”). Even

assuming that within the universe of mostly “off the street” applicants the BQ did not have an

adverse impact on a racial group other than Caucasians, that does not mean that the BQ was not

intended to harm the Class vis-à-vis African Americans. If anything, the FAA’s arguments walk it

directly into another problem that it cannot escape. The FAA states that it “intends to show that it

designed the [BQ] to have the highest predictive value balanced against the lowest disparate impact

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on each protected group.” Opp., ECF No. 141 at 24. Whether that is true or not is obviously a

question common to the Class.

               3.     Common Questions Surround the Striking of AT-SAT Scores.

       The FAA’s assertions that many Class members “lost little to nothing” when their AT-SAT

scores were struck, and that it “could have been a significant advantage,” Opp., ECF No. 141 at

26, is factually false and, in any event, does not rebut Plaintiffs’ showing of commonality. First,

the FAA assumes the wrong premise. Class members do not need an assurance of being hired to

have a valid Title VII claim. “That the named plaintiffs must establish their eligibility for hire,

however, does not mean … that they must show that they ultimately would have been hired.

Rather, the Supreme Court has made clear that ‘[w]hen the government erects a barrier that makes

it more difficult for members of one group to obtain a benefit than it is for members of another

group, … [t]he ‘injury in fact’ … is the denial of equal treatment resulting from the imposition of

the barrier, not the ultimate inability to obtain the benefit.’” Houser v. Pritzker, 28 F. Supp. 3d

222, 237 (S.D.N.Y. 2014) (citation omitted); see also Teal, 457 U.S. at 448–49; Smith v. Sec. of

Navy, 659 F.2d 1113, 1120–21 (D.C. Cir. 1981); Ricci v. DeStafano, 557 U.S. 557, 585 (2009).

       Second, every Class member went from having an AT-SAT score that designated them as

being qualified, to failing an unrelated BQ. That is not a meaningless loss. The FAA’s own

evidence indicates that all Class Members, with their tested aptitude and demonstrated

commitment to the job, were favored over allegedly equally qualified general public hires. 4th Am.

Compl., ECF No. 114 ¶¶ 46, 49–53, 68, 109. Yet every Class member was commonly robbed of

the test score that gave them that opportunity. Nor has the FAA shown that it had different

intentions vis-à-vis Class members with “qualified” versus “well-qualified” scores. The FAA’s

purported distinction between these groups—both which failed the BQ—is therefore meaningless.


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       In a simplified form, Walmart established that the test for commonality in an employment

discrimination case is whether there is a common answer to the crucial question of “Why was I

disfavored.” See Wal-Mart Stores, 564 U.S. at 352. 3 Here, there should be no dispute that Plaintiffs

have established that this question will have a common answer for all Class members—they were

disfavored by the striking of their test results and implementation of a faulty screening mechanism,

actions taken to further the interests of lesser qualified African American applicants. 4

       B.      Plaintiffs’ Claims Meet Rule 23(a)’s Requirement of Typicality.

        Plaintiffs’ claims are typical of the Class. In response to Plaintiffs’ initial showing on this

topic, the FAA responds that the Class members are of multiple races, had different AT-SAT

scores, or had different histories of submitting ATCS applications to the FAA. None of these

arguments rebuts typicality. The D.C. Circuit has held that, “to destroy typicality, a distinction

must differentiate the ‘claims or defenses’ of the representatives from those of the class. … As a

result, typicality is ordinarily met ‘if the claims or defenses of the representatives and the members

of the class stem from a single event or a unitary course of conduct based on the same legal or

remedial theory.’” J.D., 925 F.3d at 1322 (citation omitted). To that end, the D.C. Circuit has

rejected arguments premised on the distinction between a “senior,” “elite,” or “successful” plaintiff

challenging discrimination, and other employees, finding that such a plaintiff, “has an interest, like

all other members of the class, in being fairly evaluated.” Wagner v. Taylor, 836 F.2d 578, 591–


3
 Moreover, it is impossible to square the FAA’s arguments with Walmart’s approving description
of the holding in Falcon, which stated that a class action would satisfy Rule 23 if an employer
used the same biased test for hiring and promoting employees. See Wal-Mart Stores, 564 U.S. at
353 (“[I]f the employer used a biased testing procedure to evaluate both applicants for employment
and incumbent employees, a class action on behalf of every applicant or employee who might have
been prejudiced by the test clearly would satisfy the commonality and typicality requirements of
Rule 23(a).”) (internal quotation marks omitted) (emphasis added).
4
  Having established common liability issues, Plaintiffs respond to the FAA’s arguments
concerning injunctive relief and backpay below.
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92 (D.C. Cir. 1987) (“If performance evaluations are discriminatory, Wagner has been hurt in the

same way that any other member of the proposed class has, whether ‘successful’ or not.”).

       In short, factual variations between class representatives and class members do not destroy

typicality unless the differences amount to a legal difference in the claims at issue. See Shenk v.

Mallinckrodt PLC, 300 F. Supp. 3d 279, 282 (2018) (“To satisfy the typicality requirement, a

movant’s claims need not be identical with the absent class members, but they must be reasonably

coextensive with the class as a whole.”).

               1.      Benefiting One Racial Group at the Expense of All Others Creates
                       Typical Claims.

       The FAA asserts that typicality is lacking because “ostensibly” the policy at issue was

implemented to “reduce barriers” for females and certain racial groups. Opp., ECF No. 141 at 31.

This argument fails because Plaintiffs specifically allege that the political groundswell giving rise

to the 2014 changes—and the 2014 changes themselves—were intensely focused on benefitting

African Americans. These allegations are presumed true. See supra, at 2 n.1. Further, it is easy to

conceptualize how persons designing the application process could have made choices to

specifically benefit African Americans, above other demographics.

       First, the FAA’s actions were driven by an African American affinity group; directed by

the highest member of the FAA OCR, a person affiliated with that affinity group; and meant to

benefit African Americans. See 4th Am. Compl., ECF No. 114, ¶¶ 11–12, 38, 56, 61, 64, 68–70,

79–80, 84, 92, 117, 119–20, 131, 136, 198. Indeed, from the beginning, Plaintiff Brigida’s

administrative complaint alleged, “On information and belief, certain members of the FAA Human

Rights staff and Civil Rights staff, many of whom are NBCFAE members, preferred policy

outcomes that would benefit the NBCFAE to the detriment of all other races including other

minority applicants.” A. Brigida EEO Compl., Ex. 30 to Mot., ECF No. 139-30 at 11 ¶ 49. The

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statistics referred to in paragraphs 119–120 of the Complaint, as well as the fact that one of the

rushed changes to the 2014 hiring process was the elimination of the centralized selection panels—

a step found as an alleged barrier only to African Americans—demonstrate the opportunity to

manipulate hiring for the benefit of a single group. See 4th Am. Compl., ECF No. 114, ¶¶ 119-

120; FAA Presentation, Ex. 20 to Mot., ECF No. 139-20 (selection panels served as a barrier to

African Americans but no other group); Email from J. Scott, Ex. 24 to Mot., ECF No. 139-24 (one

goal in the new selection process was to eliminate centralized selection panels).

        Second, Plaintiffs’ specific allegations distinguish this case from Sperling v. Donovan, 104

F.R.D. 4, 9 (D.D.C. 1984), which the FAA relies upon. In that case, “unsupported allegations of

discrimination” did not “‘supply the requisite classwide typicality’ because ‘specificity’ is

required.” Opp., ECF No. 141 at 30. By contrast, the allegations in this case are detailed and well-

supported. In any event, Sperling is inapplicable for other reasons. Sperling dealt with an

unfavored “across-the-board” discrimination claim, which asserted discrimination in promotions,

performance evaluations, and awards in 71 different job categories. 104 F.R.D. at 5–6, 9. By the

time that the Sperling court addressed typicality, it had found only two incidents were within the

limitations period, one for awards for a special group project, and one for which the plaintiffs were

treated differently. Id. at 7–8. The court concluded that “[t]wo instances of awards distributions,

where plaintiffs simply believed that they deserved more recognition, are not sufficient to support

class certification.” Id. at 9. The typicality lacking in Sperling bears no relation to this case.

                2.      The Class Definition and the FAA’s Conduct Prevent “Eligibility and
                        Qualification” From Defeating Typicality.

        For the same reasons that differing AT-SAT scores among Class members do not defeat

commonality, they do not defeat typicality. Separately, the FAA asserts that some members of the

Class may not have been eligible for hire under the legacy system because they had graduated

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years before, and their eligibility had expired. Opp., ECF No. 141 at 32. The FAA ignores,

however, that Plaintiffs have already built into their proposed class definition the requirement that

the Class members had an active AT-SAT score. 4th Am. Compl., ECF No. 114, ¶ 173. If a

graduate had an active AT-SAT score, they were harmed when that score was struck and the

representatives’ claims, with their active AT-SAT scores, are typical.

       The FAA theorizes that some Class members would not have been eligible for

recommendations from their schools, but that the ineligibility might not be reflected in their

records. Opp., ECF No. 141 at 32. But the FAA cannot complain about a problem of its own

making. Plaintiffs have alleged that the FAA stopped seeking recommendations as part of

executing its discriminatory change in hiring. 4th Am. Compl., ECF No. 114, ¶ 168. If Plaintiffs

are correct, any doubts about the recommendations of the Class members created by the FAA’s

conduct are to be resolved against the FAA. See Houser, 28 F. Supp. 3d at 235 (where “the nature

of the employer’s [discriminatory] hiring practices makes it impossible to determine a ‘but for’

outcome,” an otherwise qualified plaintiff is entitled to relief).

       Finally, the FAA argues that Class members’ injuries differ because some could apply to

the 2012 CTI vacancy announcement. Opp., ECF No. 141 at 33. But they ignore the fact that not

one person was hired from that vacancy announcement, and that Plaintiffs have alleged that this,

too, was part of the FAA’s efforts to stack the deck for greater African American hiring. 4th Am.

Compl., ECF No. 114, ¶ 76; Answer, ECF No. 133, ¶ 76 (“[T]he FAA did not make any selections

from applications submitted in response to vacancy announcement FAA-AHM-13-CTI-27503”);

4th Am. Compl., ECF No. 114, ¶¶15, 37–38, 76. Therefore, who may or may not have applied to

the 2012 announcement does nothing to change the claim that the FAA invalidated standing AT-

SAT scores because it did not like the racial mix of successful test takers.


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               3.      Plaintiffs’ Refusal to Re-Apply in 2016 Does Not Defeat Typicality.

       Plaintiffs’ refusal to reapply to the 2016 vacancy announcement, released after Congress

intervened in the FAA’s discriminatory hiring, does not establish a failure to mitigate damages

defense, nor does it defeat typicality. 5 For the reasons stated above, if the FAA’s striking of AT-

SAT test scores or its design and implementation of the 2014 ATCS selection process violated

Title VII, then liability exists, without more; the failure of any given Class member to mitigate

damages, at best, reduces the FAA’s back pay obligations.

       Most importantly, individual defenses do not defeat typicality unless they threaten to “skew

the focus of the litigation and create a danger that absent class members will suffer because their

representative is preoccupied with defenses unique to it.” Coleman through Bunn v. District of

Columbia, 306 F.R.D. 68, 83 (D.D.C. 2015) (cleaned up). Courts routinely address damages

defense issues after resolving common issues of liability. See Hartman v. Duffy, 158 F.R.D. 525,

545–46 (D.D.C. 1994) (defendant’s assertion that plaintiff was not qualified did not defeat

typicality; qualification disputes would be addressed in later phase in Teamsters hearing); Berger,

170 F.3d at 1133 (reviewing decisions related to individual rewards of back pay); In re Johnson,

760 F.3d 66, 75 (D.C. Cir. 2014) (partial certification effectively “complied in advance” with

requirement in Wal-Mart that defendant be able assert statutory defenses to individual claims);

Easterling, 265 F.R.D. at 52 (“Differences in the degree of harm suffered, or even in the ability to



5
  Plaintiffs’ decision not to apply to the 2016 ATCS openings is not a failure to mitigate damages.
See Martini v. Fed. Nat. Mortg. Ass’n, 977 F. Supp. 464, 474 (D.D.C. 1997) (rejecting argument
that plaintiff failed to mitigate damages by refusing different job offered by employer one month
after complaint of discrimination was made); Berger v. Iron Workers Reinforced Rodman, Local
201, 170 F.3d 1111, 1133 (D.C. Cir. 1999) (“The victim of discrimination, however, is ‘merely
required to make “reasonable efforts” to mitigate his loss of income, and only unjustified refusals
to find or accept other employment are penalized under this rule.’”). Requiring Plaintiffs to forego
the life and career paths they had established in intervening years to return to an employer that
only stopped discriminating against them because of a Congressional mandate is not reasonable.
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prove damages, do not vitiate the typicality of a representative’s claims.”) (citation omitted). The

FAA offers no reason why that is not true in this case, and the FAA is still fully free to assert its

defenses in later phases of this case. But it cannot defeat typicality on such bases.

       C.      Plaintiffs Can and Will Adequately Represent the Class.

       The FAA’s newly-lodged assertion that Plaintiffs’ qualifications claims are not exhausted,

and that the proposed Named Plaintiffs are therefore inadequate representatives, fails for a number

of reasons. First, even if accepted, this argument would apply only to the qualifications claim, and

not to the claims regarding the BQ. See Order, ECF No. 112 at 3–4 (holding Plaintiffs exhausted

disparate treatment claim regarding BQ). Second, a failure to exhaust remedies is an affirmative

defense for which the defendant bears the burden. See Moore v. Dep’t of State, 351 F. Supp. 3d

76, 94 (D.D.C. 2019). The FAA has not even attempted to carry that burden here, nor shown that

it could. Third, as the FAA acknowledges, timeliness of exhaustion is measured by a “discrete”

act. Opp., ECF No. 141 at 31; Moore, 351 F. Supp. 3d at 94. The FAA does not identify any

“discrete act” that it took more than 45 days prior to Mr. Brigida’s initiation of the EEO process.

In January 2014, the FAA informed the CTI schools that the application process would be

changing, but this is not a discrete discriminatory act. If the FAA announced to the world that it

had plans to discriminate in January, but did not engage in a discriminatory act until February, an

EEO process started within 45 days after the act is timely. Fourth, the parties are now six years

into this case, through two motions to dismiss and two substantive oppositions to motions to

amend; the failure to exhaust remedies defense is waived. See Savage v. Azar, 317 F. Supp. 3d

438, 339–40 (D.D.C. 2018) (belatedly asserted defense of failure to exhaust remedies was waived).

In any event, since the Class currently relies upon Mr. Brigida’s EEO filing for exhaustion, if the




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FAA is allowed to proceed with its new defense, this establishes one more common issue in the

case.

         The race and national origin distributions within the Class do not establish that Plaintiffs

are inadequate Class representatives. Indeed, the FAA does not argue as much, but merely hedges

claiming it “is unclear whether the interests of the Class are antagonistic to each other.” Opp., ECF

No. 141 at 37. Conflicts of interest that are merely speculative or hypothetical do not defeat

adequacy of representation, and conflicts only prevent adequacy of representation when they are

“fundamental to the suit … and go to the heart of the litigation.” Nat’l Veterans Legal Svs. Program

v. United States, 235 F. Supp. 3d 32, 41 (D.D.C. 2017) (quoting Keepseagle v. Vilsack, 102 F.

Supp. 3d 205, 216 (D.D.C. 2015)). As explained above, Plaintiffs allege political pressure brought

to bear in the FAA, and actions taken to uniquely benefit African Americans. The evidence thus

does not substantiate a concern that a conflict will arise within the Class.

         D. The Class is Ascertainable.

         In In re McCormick & Co. Pepper Products Marketing & Sales Practices Litigation, 422

F. Supp. 3d 194, 241 (D.D.C. 2019), the court noted that the D.C. Circuit has not expressly required

ascertainability, but then conducted a survey of other circuits’ rulings. It held that the baseline and

appropriate standard “means that a class definition must render potential members identifiable

according to objective criteria.” Id. The Class definition here meets that requirement.

         Contrary to the FAA’s argument, the exclusion of CTI graduates “whose academic records

as of February 21, 2014, explicitly stated that they were ineligible to receive a letter of

recommendation from their CTI school” does not create a significant hurdle in the administration

of the Class, much less a fatal one. The FAA claims that there is “no reason to think that graduates

who fail to meet a school’s recommendation criteria will have the lack of recommendation


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‘explicitly state[d]’” in their records. Opp., ECF No. 141 at 38. That alleged concern, however, is

not an ascertainability problem. The record will either state that the student is ineligible for a

recommendation, or it will not. If such notation is not found in the record, the graduate is not

precluded from Class membership on that basis. 6

       Nor does lack of documentation regarding whether a graduate would have received a

recommendation create a practical problem. Indeed, while the FAA refers to various ways that it

has analyzed the purported Class, it is silent as to the number of its assumed Class members that

lack notation of a recommendation. Few potential Class members are likely to face this scenario.

The FAA had issued a CTI ATCS vacancy announcement that ended on September 10, 2012. Opp.,

Ex. G, ECF No. 141-1 at 238. While the FAA did not hire anyone from that announcement, any

CTI graduate who applied to the vacancy (or an earlier CTI announcement) would have their

recommendation recorded. Thus, any lack of records regarding recommendations are likely to be

only from students who graduated in late 2012 or in 2013. Further, while some schools stopped

submitting recommendations in late 2013, they did so because the FAA instructed them that they

no longer wished to receive the recommendations due to their new (illegal) hiring process. 4th Am.

Compl., ECF No. 114, ¶ 168. Because any problem regarding a potential lack of recommendation

would purely be a function of the FAA’s own discriminatory misconduct, any doubts about

recommendations are to be resolved against the FAA. See Segar v. Smith, 738 F.2d 1249, 1291

(D.C. Cir. 1984); Houser, 28 F. Supp. 3d at 235.

       Class members who satisfy all the other criteria for Class membership, but have no record

of a recommendation, and no record that they would be ineligible for a recommendation, should


6
 Further, the exclusion that the FAA contests was required as a condition of Plaintiffs’ amendment.
See ECF No. 112 at 5 n.2. To make dates consistent and to the FAA’s benefit, Plaintiffs made the
exclusionary date February 21, 2014, rather than January 27, 2014.
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be presumed to be in the Class and provided any notice afforded the Class.

II.    A Rule 23(b)(2), 23(b)(3), or Hybrid Class is Also Appropriate.

       Plaintiffs pursue injunctive relief applicable to the entire Class, common issues

predominate in this litigation, and a class mechanism is superior to repeatedly addressing the same

issues in different proceedings; Plaintiff thus satisfy Rule 23(b). Many of the FAA’s Rule 23(b)

arguments fail for the same reasons described above. Moreover, many of the FAA’s Rule 23(b)

arguments rely erroneously on cases addressing antitrust violations. As explained below, there are

fundamental differences between harms made illegal because of their economic impact, and the

harms that Title VII was meant to eradicate.

       A.      Injunctive Relief Can Benefit the Entire Class, Satisfying Rule 23(b)(2).

       The declaratory and injunctive relief sought by the Plaintiffs is sufficiently conceptualized

to satisfy Rule 23(b)(2). Unfortunately, the FAA’s representation of the standard at class

certification is erroneous. The FAA states:

       Where Defendant and this Court are left to guess at what Plaintiffs seek by way of
       injunctive relief, and whether it would provide a class-wide remedy, certification
       under Rule 23(b)(2) is inappropriate. See DG ex rel. Stricklin v. Devaughn, 594
       F.3d 1188, 1200 (10th Cir. 2010) (“Rule 23(b)(2)’s bottom line, therefore, demands
       at the class certification stage plaintiffs describe in reasonably particular detail the
       injunctive relief they seek[.]”)

Opp. at 40. The Tenth’s Circuit’s holding, however, is more robust than the FAA’s selective

quotation. The Tenth Circuit stated: “Rule 23(b)(2)’s bottom line, therefore, demands at the class

certification stage plaintiffs describe in reasonably particular detail the injunctive relief they seek

such that the district court can at least conceive of an injunction that would satisfy [Rule 65(d)’s]

requirements, as well as the requirements of Rule 23(b)(2).’” DG ex rel. Stricklin v. Devaughn,

594 F.3d 1188, 1200 (10th Cir. 2010) (cleaned up, emphasis added).

       This Court has already held that, upon finding discrimination, “the court may . . . order

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such affirmative action as may be appropriate, which may include, but is not limited to,

reinstatement or hiring of employees . . . or any other equitable relief as the court deems

appropriate.” Mem’m Opinion and Order, ECF No. 50 at 7 (quoting 42 U.S.C. § 2000e-5(g)(1)).

Further, in such a case “the district court has not merely the power but the duty to render a decree

which will so far as possible eliminate the discriminatory effects of the past as well as bar like

discrimination in the future.” Id. (quoting Albemarle Paper Co. v. Moody, 422 U.S. 405, 418

(1975)). And equitable relief, including hiring preferences, remain possible, despite Congressional

changes to ATCS hiring regimes. Id. at 8; see also Mem’m Opinion and Order, ECF 112 at 6

(quoting Order at ECF No. 50). As time progresses, the likelihood that Class members could or

would be hired into ATCS positions wanes, but that does not preclude Class members from being

made whole in part by a hiring preference for other positions within the FAA.

       Turning to the Rule itself, the FAA “acted or refused to act on grounds that apply generally

to the class.” Fed. R. Civ. P. 23(b)(2). The FAA’s striking of Class members’ AT-SAT scores, its

changing of the 2014 hiring process, and the mandated application and scoring of the BQ were all

applied to the Class. To remedy the FAA’s discrimination, the Class seeks injunctive relief,

including instatement preferences; possible eligibility extensions for ATCS positions; training and

other measures, particularly for the FAA OCR and HR offices, designed to prevent race-based

hiring decisions from occurring in the future; prohibitions against special interest groups designing

hiring methods; and requiring third-party review of proposed hiring changes. 4th Am. Compl.,

ECF No. 114, ¶ 206; 4th Am. Compl., ECF No. 114, Prayer, ¶ 6; Mot., ECF No. 139 at 31, 39.

       This relief will benefit the entire Class. First, the requested injunction seeks that Class

members receive a preference for a position with the FAA. This preference could act similar to

(but subject to) the statutory veteran’s preference, and apply to all Class members, even if they are


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currently employed by the FAA. Hiring preferences are explicitly allowed under Title VII. See 42

U.S.C. § 2000e-5(g)(1). Further, the other remedies are designed to prevent discrimination by

addressing the specific circumstances of this case—improper political influence by an interest

group and a belief or self-serving assumption that complying with MD-715 or otherwise removing

barriers for one protected group allowed discrimination against other groups.

       B.      A Hybrid Certification, Pursuant to Rule 23(b)(3) or 23(c)(4) is Warranted.

       The FAA’s argument against a hybrid or partial certification misunderstands Plaintiffs’

proposal. Indeed, nowhere in the FAA’s Opposition does it address Plaintiffs’ request that

proceedings be bifurcated. Plaintiffs propose that this case follow a path endorsed by the Supreme

Court: first, the case would address whether the defendant engaged in a practice of discrimination

that affected a large number of applicants in the same way; if the finding of discrimination is made,

then the case moves on—with a presumption of discrimination benefiting the Class—to address

questions of remedies and the make whole directive of Title VII. Int’l Bhd. of Teamsters v. United

States, 431 U.S. 324, 362 (1977). 7 Once liability is found, there will still be remedies issues that

can be addressed on a class basis, such as aggregate or but-for back pay, and the resolution of the

defenses that the FAA claims to have against the awarding of certain remedies.

               1.      Predominance In This Case Is Not Controlled by Antitrust Precedent.

       The FAA is right that Plaintiffs do not suggest a “damages” model that establishes that all

“damages are capable of measurement on a classwide basis.” Opp., ECF No. 141 at 42. Frankly,

no such Title VII “damages” model would ever satisfy both Wal-Mart and antitrust requirements;


7
  The FAA claims that a finding of liability would not give rise to a presumption of discrimination
because “this is not a pattern and practice case.” Opp., ECF No. 141 at 44. But should Plaintiffs
prevail on the merits of their claim, Class members will be entitled to a presumption that they were
discriminated against. Teamsters, 431 U.S. at 362; Texas Dept. of Cmty. Affairs v. Burdine, 450
U.S. 248, 254 (1981) (“Establishment of the prima facie case in effect creates a presumption that
the employer unlawfully discriminated against the employee.”).
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and for good reason. In Wal-Mart, the Supreme Court rejected the proposed class in part due to

the suggestion that monetary relief could be resolved based on statistical sampling or “Trial by

Formula.” 564 U.S. at 367. The Court was clear that a Title VII defendant “is entitled to

individualized determinations of each employee’s eligibility for backpay.” Id. at 366. The Court

again endorsed the Teamsters approach of post-liability hearings to determine individual relief. Id.

       Ignoring all of this, the FAA claims that this Class cannot be certified for monetary relief

unless it aligns with the statement in Comcast, an antitrust case, that “damages are capable of

measurement on a class wide basis.” Opp., ECF No. 141 at 42 (citing Comcast Corp. v. Behrend,

569 U.S. 27, 34 (2013)). But if both requirements were applicable, no Title VII class seeking

monetary relief could be certified; there cannot be a classwide formula for “damages” and

individualized determinations of monetary relief. Indeed, the Wal-Mart Court noted that plaintiffs’

pursuit of uniform damages created “perverse incentives for class representatives to place at risk

potentially valid claims for compensatory damages…” Wal-Mart Stores, 564 U.S. at 364. Other

courts have found that when a class representative attempts to waive certain claims or relief, such

a representative is inadequate because they are engaging in impermissible claim splitting. See

Brewer v. Lynch, No. 08-1747-BJR, 2015 WL 1360457, at *10 (D.D.C. Sept. 30, 2015) (“Courts

closely scrutinize claim splitting by a class representative and do not permit such a plaintiff to ‘opt

to pursue certain claims on a class-wide basis while jeopardizing the class members’ ability to

subsequently pursue other claims.’”) 8

       The best reconciliation of Wal-Mart and Comcast is that Comcast is inapplicable to Title

VII. Unlike Title VII, the very elements of an antitrust claim require proof of damages. See




8
 For this reason, Plaintiffs have not foregone compensatory damages on behalf of the Class as the
FAA sometimes claims. Opp., ECF No. 141 at 43.
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Behrend v. Comcast Corp., 655 F.3d 182, 191 (3d Cir. 2011) (elements of claim were a violation

of antitrust laws; an individual injury resulting from that violation (antitrust impact), and

measurable damages). The same elements were required in In re Rail Freight Fuel Surcharge

Antitrust Litig., another case upon which the FAA places great weight. 292 F. Supp. 3d 14, 89

(D.D.C. 2017). But of the numerous potential Title VII theories, none involve an element that

requires proof of measurable damages.

       Cases decided after Comcast make clear that class actions can be certified pursuant to Rule

23(b)(3) even if individual issues affect damages. Two years after Comcast, Tyson Foods discussed

how to evaluate common and individual issues to decide whether Rule 23(b)(3) is satisfied. See

Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442 (2016). Such discussion would have been

completely unnecessary if, as the FAA contends, issues of damages, and presumably every other

issue in the case, had to be decided on a classwide basis. Moreover, Tyson Foods explicitly stated

“When ‘one or more of the central issues in the action are common to the class and can be said to

predominate, the action may be considered proper under Rule 23(b)(3) even though other

important matters will have to be tried separately, such as damages or some affirmative defenses

peculiar to some individual class members.’” 577 U.S. at 453 (emphasis added); see also In re

Whirlpool Corp. Front-Loading Washer Prods. Liability Litig., 722 F.3d 838, 858–61 (6th Cir.

2013) (examining Comcast upon direction from Supreme Court, holding Comcast had limited

application where liability and damages issues were bifurcated).

       As explained by the Supreme Court, “[c]onsidering whether ‘questions of law or fact

common to class members predominate’ begins, of course, with the elements of the underlying

cause of action.” Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809 (2011). The FAA

misses this step entirely. Economic damage is not an element of Plaintiffs’ claim, and need not be


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proven by a uniform damages model. The FAA’s argument to the contrary contravenes well

established Supreme Court precedent for the proper administration of Title VII cases.

               2.     Common Questions Predominate.

       Other aspects of the FAA’s preferred approach to evaluating predominance also fail. The

FAA argues that “the primary focus of the predominance inquiry should not be Plaintiffs’

background narrative,…but on the weight of Plaintiffs allegedly common monetary relief issues.”

Opp., ECF No. 141 at 42. If “background narrative” means the merits of Plaintiffs’ liability case,

courts hold exactly the opposite. See, e.g., Barnes v. District of Columbia, 242 F.R.D. 113, 122

(D.D.C. 2007) (issues going to liability “dwarf whatever unique issues might arise at the damages

stage”); Moore, 926 F. Supp. 2d at 33–34 (individual issues of whether defendant had some

legitimate reason not to promote specific class members were “not germane to the liability stage

of a pattern and practice claim,” not relevant to disparate impact, and so “do not destroy

predominance”).

       Identifying and categorizing the issues in this case, the common questions include: (1)

whether Class members were applicants when their AT-SAT scores were struck; (2) whether the

FAA struck the Class members’ AT-SAT scores for a racial purpose; (3) if so, whether the FAA

had a strong basis in evidence that the AT-SAT was deficient, and that discarding the results was

necessary to avoid violating the disparate-impact provision of Title VII (including the sub-

questions of whether the AT-SAT was job-related and if an equally valid, less discriminatory test

was available); (4) whether the FAA designed the 2014 hiring process, including the BQ, with the

intent to favor one racial group over others; (5) whether the 2014 hiring process served as an

instrument of discrimination; (6) whether the FAA had legitimate non-discriminatory reasons for

how it designed and implemented the 2014 ATCS selection process; (7) what form of injunctive


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relief will best make the Plaintiffs whole; and (8) whether back pay should be awarded and how.

Notably, the FAA does not identify any individual issues that would need to be resolved for a

factfinder to determine whether striking the AT-SAT scores or the implementation of the 2014

ATCS selection process violated Title VII.

       Any individual issues arise only after a finding of liability. These include whether any

particular Class member was objectively disqualified from being hired as an ATCS, such that they

are not eligible for back pay; whether some individuals failed to mitigate damages; or whether

their back pay awards, if not calculated on an aggregate/pro rata basis, should be terminated early

for some other reason. These are exactly the types of questions that courts routinely find not to

defeat predominance and class certification. See Hartman 158 F.R.D. at 545–46 (defendant’s

assertion that plaintiff was not qualified would be addressed in later phase Teamsters hearing).

               3.      Mr. Perdue’s Aggregate Back Pay Model Demonstrates Additional
                       Potential Common Issues.

       Mr. Perdue’s expert model of how elements of back pay can be subject to common proof

bolsters the predominance finding. Like a broken record, the FAA attacks Mr. Perdue’s model as

not establishing damages on a classwide basis. Opp., ECF No. 141 at. 42. For the reasons explained

above, it was not meant to, nor should it. 9 Cases across multiple circuits, including the D.C. Circuit,

as well as guidance from the government itself, indicate that an aggregate/pro rata model is wholly

appropriate to remedy discrimination. See, e.g., Segar, 738 F.2d at 1289–90 (affirming choice of

classwide back pay); Dougherty v. Berry, 869 F.2d 605, 614–25 (D.C. Cir. 1989) (holding

aggregate/pro rata distribution appropriate); Ingram v. Madison Square Garden Ctr., Inc., 709 F.2d


9
  Most of the FAA’s other criticisms of Mr. Perdue’s report either are general objections to the
premise underlying the aggregate/pro rata approach, apply only to front pay, or represent
difficulties that would prevent any plaintiff, class member or individual, from proving damages
with absolute certainty. Opp., ECF No. 141 at 24. But absolute certainty is not required, and the
FAA’s proposal would improperly leave any failure to hire plaintiffs without back pay.
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807, 812 (2d Cir. 1983) (pro rata distribution was more appropriate than distribution to first in time

applicants). Plaintiffs have presented such a model and explained how it would apply here. And

even the FAA’s expert acknowledged that back pay in this case could likely be calculated on an

aggregate basis. See Mot., ECF No. 139 at 32–33; Mot. Ex. 23, P. White Dep. Tr., ECF No. 139-

23.

               4.      Proceeding with Bifurcated Phases and Teamsters-type Resolution
                       Will Not Provide a Windfall to “Uninjured” Plaintiffs.

       The FAA is incorrect to assert that Plaintiffs’ proposal provides a windfall to uninjured

Class members. Opp., ECF No. 141 at 44. First, every Class member was injured when they were

subjected to discrimination. See Smith, 659 F.2d at 1120–21. (“An illegal act of discrimination …

is a wrong in itself under Title VII, regardless of whether that wrong would warrant an award of

back pay or preferential hiring.”). Second, courts approving aggregate back pay have rejected the

“windfall” argument, which would obviously arise in every such case. See Stewart v. Gen. Motors

Corp., 542 F.2d 445, 452 (7th Cir. 1976) (approving aggregate back pay, addressing “windfall”

argument, and finding that the uncertainty of but-for circumstances warranted aggregate method).

Finally, as required by Wal-Mart, in post-liability proceedings, the FAA will have the opportunity

to assert individual defenses. See Wal-Mart Stores, 564 U.S. at 366–67.

       C.      Class Action is the Superior Method of Adjudication.

       The FAA offers three reasons why class treatment is not a superior method of adjudicating

this case, but none of them withstand scrutiny. First, the FAA hypothesizes that individual Class

members may be “very interested” in controlling their own litigation. Opp., ECF No. 141 at 48.

The falsity of that statement is proven by the fact that no individual cases have been filed.

       Second, the FAA argues that class proceedings in this case will not promote efficiency or

judicial economy, because neither very small nor very large claims are at issue. Opp., ECF No.

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141 at 48. The FAA asserts that because the Court is not at risk of being “flooded,” and there are

only perhaps a few hundred possible cases, it would be better if Class members filed individual

cases. This is, however, directly contrary to the FAA’s prior argument that anything short of a

uniform damages model would create a “tsunami of mini-trials relating to damages.” Opp., ECF

No. 141 at 28. But the existence of de minimis claims or a torrent of large cases has never been a

prerequisite for a finding that a class mechanism is superior. See Moore, 926 F. Supp. 2d at 34

(rejecting argument that alleged potential large individual damages precluded finding of

superiority); Coleman, 306 F.R.D. at 87–88 (focus of superiority is providing efficiency and

uniformity without sacrificing procedural protections; finding superiority due to identical liability

questions and fact that class members were unlikely to bring their claims on their own).

       Finally, as addressed above, the FAA’s theory that this case would be unmanageable as a

class because it would follow the Teamsters approach to individualized equitable relief is simply

untenable in light of contravening Supreme Court precedent. Opp., ECF No. 141 at 48–49. Courts

routinely find that class treatment of Title VII liability claims, followed by individualized relief

considerations, is superior to cases being brought individually.

                                         CONCLUSION

       For the reasons stated in the Motion and above, the Plaintiffs’ Motion for Class

Certification should be granted, Plaintiffs Andrew J. Brigida and Matthew L. Douglas-Cook

appointed as Class Representatives, and MSLF and Curry, Pearson & Wooten jointly appointed as

Class Counsel.

DATED this 18th day of November, 2021.

                                              Respectfully submitted,
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 18th day of November, 2021, I caused a true and correct copy

of the foregoing REPLY MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR

CLASS CERTIFICATION to be electronically filed with the Clerk of the Court using the Court’s

CM/ECF system which sent notification of such filing to the following counsel of record in this

matter:

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